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CHARLEY vs. THE UNITED STATES OF AMERICA, et al.                          Timothy Boyd Charley
No. 1:22-CV-00033-JB/JFR                                                      May 05, 2023

· · · · · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · · FOR THE DISTRICT OF NEW MEXICO
· · · · · · · · · · ·· Case No. 1:22-CV-00033 JB/JFR
· · ··
· · ·· THE ESTATE OF NENA CHARLEY,
· · ·· By and Through Personal Representative,
· · ·· TIMOTHY CHARLEY, TIMOTHY
· · ·· CHARLEY, as Parent and Next Friend of
· · ·· NILE CHARLEY, and TIMOTHY CHARLEY, Individually,
· · ··
· · · · · · · · · · · Plaintiffs,
· · ··
· · · · · ·· v.
· · ··
· · ·· THE UNITED STATES OF AMERICA,
· · ·· ROBIN RANELL SALES, R.N., JOELLE
· · ·· CATHERIN CERO GO, R.N., AB
· · ·· STAFFING SOLUTIONS, LLC, a Foreign
· · ·· Corporation, NEXT MEDICAL STAFFING,
· · ·· a Foreign Corporation, and JOHN or JANE
· · ·· DOE Corporation,
· · ··
· · · · · · · · · · · Defendants.
· · ··
· · ··
· · ··
· · · · · · · · · · · · VIDEOCONFERENCE DEPOSITION
· · · · · · · · · · · · · OF TIMOTHY BOYD CHARLEY
· · · · · · · · · · · · · · · · May 5, 2023
· · · · · · · · · · · · · · · · 10:00 a.m.
· · · · · · · · · · · · · Albuquerque, New Mexico
· · ··
· · ··
· · ··
· · · · ·· PURSUANT TO THE NEW MEXICO RULES OF CIVIL PROCEDURE,
· · ··
· · ·· this Deposition was:
· · ··
· · ·· TAKEN BY:· · · · ··JOHN J. CHECKETT, ATTORNEY FOR
· · · · · · · · · · · · · DEFENDANTS ROBIN RANELL SALES, R.N.,
· · · · · · · · · · · · · AND NEXT MEDICAL STAFFING
· · ··
· · ··
· · ·· REPORTED BY:· · · ·REBECCA FELLA, RPR
· · · · · · · · · · · · · NEW MEXICO CCR 534
· · · · · · · · · · · · · WILLIAMS & ASSOCIATES, LLC
· · · · · · · · · · · · · 317 Commercial Street NE, Suite G-101
· · · · · · · · · · · · · Albuquerque, New Mexico 87102
· · ··                                                    USA EXHIBIT A

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·2·· ·Exhibit 14· ·Partial statement of Tim· · · ··143               ·2·· ·having been first duly sworn, testified as follows:
  ··· · · · · · · ··Charley                                          ·3·· · · · · · · · · · · · · ··EXAMINATION
·3·· ·                                                               ·4·· ·BY MR. CHECKETT:
  ··· ·Exhibit 15· ·Workers' compensation documents 108              ·5·· · · ··Q.· ·All right.··Please state your full name for the
·4·· ·
                                                                     ·6·· ·record.
·5·· ·
                                                                     ·7·· · · ··A.· ·My name is Timothy Charley.
·6·· ·
                                                                     ·8·· · · ··Q.· ·And Mr. Charley, have you ever given a
·7·· ·
                                                                     ·9·· ·deposition before?
·8·· ·
·9·· ·                                                               10·· · · ··A.· ·No.
10·· ·                                                               11·· · · ··Q.· ·All right.··Let me go over some ground rules
11·· ·                                                               12·· ·that your attorneys may have gone over with you.
12·· ·                                                               13·· · · · · · ·The first ground rule is, if you don't
13·· ·                                                               14·· ·understand a question that I ask, just make sure you say,
14·· ·                                                               15·· ·John, can you rephrase it, or I don't understand it.
15·· ·                                                               16·· · · · · · ·Can you do that?
16·· ·                                                               17·· · · ··A.· ·Yes.
17·· ·
                                                                     18·· · · ··Q.· ·And you're doing a great job already.··From time
18·· ·
                                                                     19·· ·to time you may feel a question calls for a yes-or-no
19·· ·
                                                                     20·· ·answer.··Just make sure that you say okay or yes or no or
20·· ·
                                                                     21·· ·whatever you feel is appropriate instead of saying uh-huh
21·· ·
                                                                     22·· ·or huh-uh or just nodding your head.
22·· ·
23·· ·                                                               23·· · · · · · ·And so if you do that, I'll correct you on the
24·· ·                                                               24·· ·record just so Rebecca can take down what you're saying.
25·· ·                                                               25·· ·I'm not intending to be rude or interrupt you that way,


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·1·· · · ··A.· ·It's --                                                     ·1·· · · ··A.· ·No.
·2·· · · ··Q.· ·So basically, just to -- go ahead.                          ·2·· · · ··Q.· ·And so basically all it is is you're just
·3·· · · ··A.· ·It's just -- go ahead.··I'm sorry.                          ·3·· ·sitting out there for approximately 15 minutes while the
·4·· · · ··Q.· ·All right.··So as far as you said she went back             ·4·· ·nurse is going -- while the -- while Nena sees the nurse,
·5·· ·with this nurse who poked her head out, you know, to the              ·5·· ·and you have no information as to what exactly is
·6·· ·side and went back, and one of the things they did was                ·6·· ·occurring with the nurse.
·7·· ·take her temperature and weight, you're just saying, hey,             ·7·· · · · · · ·Am I correct?
·8·· ·that's what they normally do, correct?                                ·8·· · · · · · ·MS. BEN:··Form.
·9·· · · ··A.· ·Yes -- ask her questions.                                   ·9·· · · ··A.· ·Correct.
10·· · · ··Q.· ·Yeah.··And so as far as you're -- again, whether            10·· · · ··Q.· ·So all you know is that whatever happened
11·· ·it was actually done or not is a different story -- you're            11·· ·between the nurse and Nena, you have no knowledge about
12·· ·guessing that that's what they're doing with Nena when                12·· ·that, correct?
13·· ·she's with this nurse who poked her head out around the               13·· · · ··A.· ·Correct.
14·· ·corner, correct?                                                      14·· · · ··Q.· ·And that all you know, the next thing that
15·· · · ··A.· ·Correct.                                                    15·· ·happened was Nena comes back out 15 minutes later after
16·· · · ··Q.· ·And you're -- you're -- you're guessing that                16·· ·seeing this person who you believe to be the nurse, this
17·· ·they're -- they're taking vital signs and taking her                  17·· ·white lady, correct?
18·· ·weight and asking her questions, correct?                             18·· · · ··A.· ·Correct.
19·· · · ··A.· ·Correct.                                                    19·· · · ··Q.· ·And you have no -- again, you said you really
20·· · · ··Q.· ·And so as far as what actually occurs that's                20·· ·had no conversation with Nena after she got back with you
21·· ·going on back there with the nurse -- the person you                  21·· ·and before she went back with the third person who called
22·· ·believe to be the nurse, the white lady -- and Nena, you              22·· ·through the window.
23·· ·don't have any knowledge of what was going on back there,             23·· · · · · · ·Am I correct?
24·· ·do you?                                                               24·· · · ··A.· ·Correct.
25·· · · · · · ·MS. BEN:··Form.                                             25·· · · · · · ·MS. BEN:··Form.

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·1·· ·BY MR. CHECKETT:                                                      ·1·· · · · · · ·MS. BEN:··Form.
·2·· · · ··Q.· ·So it's fair to say that you didn't hear                    ·2·· · · ··A.· ·-- I couldn't hear the nurse, but I could hear
·3·· ·anything going on with the nurse back in the -- the room              ·3·· ·my wife talk.
·4·· ·with Nena, correct?                                                   ·4·· · · ··Q.· ·So you're at a point in the waiting room faced
·5·· · · · · · ·MS. BEN:··Form.                                             ·5·· ·away from where your wife was -- wherever she was with the
·6·· · · ··A.· ·Correct.                                                    ·6·· ·nurse -- and you -- could you hear the nurse?
·7·· · · ··Q.· ·And so as far as whatever conversation that this            ·7·· · · · · · ·MS. BEN:··Form.
·8·· ·nurse had with Nena back in the room -- this white nurse              ·8·· · · ··A.· ·No.
·9·· ·around the corner -- you don't know what that was?                    ·9·· · · ··Q.· ·And so it's your testimony that the only voice
10·· · · · · · ·MS. BEN:··Form.                                             10·· ·you could hear sitting out in the waiting room facing away
11·· · · ··A.· ·Just a routine checkup.                                     11·· ·from where they were was your wife?
12·· · · ··Q.· ·Okay.··But you don't know what they talked                  12·· · · ··A.· ·Yes.
13·· ·about?                                                                13·· · · ··Q.· ·And what did you -- what did you -- go ahead.
14·· · · · · · ·MS. BEN:··Form.                                             14·· · · ··A.· ·Can you repeat the question?
15·· · · ··A.· ·No.                                                         15·· · · ··Q.· ·All right.··What -- so basically without being
16·· · · ··Q.· ·And so you couldn't -- just to make sure, you               16·· ·able to hear the nurse, you're able to hear your wife talk
17·· ·were not able to hear what the nurse was talking about                17·· ·to this nurse around the corner?
18·· ·with Nena.                                                            18·· · · · · · ·MS. BEN:··Form.
19·· · · · · · ·Am I correct?                                               19·· · · ··A.· ·Yes, I could hear my wife talking.
20·· · · · · · ·MS. BEN:··Form.                                             20·· · · ··Q.· ·And tell me everything you remember your wife
21·· · · ··A.· ·I could hear my wife talk.                                  21·· ·saying to this nurse while you're sitting out there for 15
22·· · · ··Q.· ·All right.··So you just told me that you didn't             22·· ·minutes waiting for her to come back from this person who
23·· ·know what the conversation was between them.                          23·· ·you believe to be the nurse.
24·· · · · · · ·Am I right?                                                 24·· · · ··A.· ·I just noticed that she was explaining her
25·· · · ··A.· ·I don't know what the nurse was --                          25·· ·symptoms, how she's feeling.


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·1·· · · ··Q.· ·And what else?                                               ·1·· · · ··A.· ·No.
·2·· · · ··A.· ·She just told her that -- how she felt,                      ·2·· · · · · · ·MS. BEN:··Form.
·3·· ·headache, a little feverish, and then it's just like a                 ·3·· ·BY MR. CHECKETT:
·4·· ·thing I could hear.                                                    ·4·· · · ··Q.· ·So basically while your wife is back there 15
·5·· · · ··Q.· ·All right.··So what I want you to do is tell me              ·5·· ·minutes with the nurse, you -- you heard your wife say
·6·· ·everything you remember, you know, details of what you                 ·6·· ·that she had a headache and she was feverish, and that's
·7·· ·heard your wife say while she's with this nurse -- person              ·7·· ·about all you heard?
·8·· ·who you believe to be a nurse during that 15 minutes.                  ·8·· · · · · · ·MS. BEN:··Form.
·9·· · · · · · ·What -- what did -- what did your wife say?                  ·9·· · · ··A.· ·Oh, let's see.··Yes.
10·· · · · · · ·MS. BEN:··Form.                                              10·· · · ··Q.· ·All right.··So if -- and again, Mr. Charley, I'm
11·· · · ··A.· ·I could hear her explaining her -- how she felt,             11·· ·just trying to give you every chance to answer that
12·· ·headache.··And I couldn't hear the nurse because I guess               12·· ·question as far as what you specifically recall your wife
13·· ·my wife was a little bit louder, but that was about it.                13·· ·said to the nurse.
14·· ·It's more that -- how she felt and headache, fever.                    14·· · · · · · ·When she's back there with this person who you
15·· · · ··Q.· ·Okay.··And so --                                             15·· ·believe to be a nurse for 15 minutes, the only thing that
16·· · · ··A.· ·I guess that's when the nurse was --                         16·· ·you can recall as you sit here today is that you heard
17·· · · ··Q.· ·And so -- go ahead.                                          17·· ·your wife say to this person who was a nurse that she had
18·· · · ··A.· ·I guess that's when the nurse was asking her on              18·· ·a headache and she was feverish; is that correct?
19·· ·why she was there.                                                     19·· · · · · · ·MS. BEN:··Form.
20·· · · ··Q.· ·And so in response to my question to everything              20·· · · ··A.· ·Correct.
21·· ·you heard, was that all you heard from your wife while she             21·· · · ··Q.· ·And so as far as -- you cannot recall -- outside
22·· ·was back with this person who you believe to be a nurse?               22·· ·of your wife -- hearing your wife say that she had a
23·· · · · · · ·MS. BEN:··Form.                                              23·· ·headache and was feverish, you cannot recall anything else
24·· · · ··A.· ·Yes.                                                         24·· ·that you heard your wife say during the entire time that
25·· · · ··Q.· ·Did you hear anything else?                                  25·· ·your wife is back with the person who you believe to be

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·1·· ·the nurse, the white lady who poked her head around the                ·1·· ·only person -- the only conversation you heard was that
·2·· ·corner.                                                                ·2·· ·your wife told the nurse she had a headache and was
·3·· · · · · · ·Am I correct?                                                ·3·· ·feverish.
·4·· · · · · · ·MS. BEN:··Form.                                              ·4·· · · · · · ·Am I right?
·5·· · · ··A.· ·Correct.                                                     ·5·· · · · · · ·MS. BEN:··Form.
·6·· · · ··Q.· ·So then after you're sitting out there waiting               ·6·· · · ··A.· ·Correct.
·7·· ·for 15 minutes, all you hear your wife say in the                      ·7·· · · ··Q.· ·I'm sorry?
·8·· ·background is that she has a headache and felt feverish.               ·8·· · · ··A.· ·Correct.
·9·· · · · · · ·She then -- your wife then comes back out 15                 ·9·· · · ··Q.· ·And you don't recall your wife saying anything
10·· ·minutes later and sits with you, correct?                              10·· ·else; is that right?
11·· · · ··A.· ·Correct.                                                     11·· · · · · · ·MS. BEN:··Form.
12·· · · ··Q.· ·And then she -- a third person then takes her --             12·· · · ··A.· ·Correct.
13·· ·calls her name and takes her back.                                     13·· · · ··Q.· ·And then outside of complaining about a headache
14·· · · · · · ·Does she go to the right of the window when the              14·· ·and fever, you hear nothing else from your wife to a
15·· ·third person calls her from the window?                                15·· ·hospital person while you're in the waiting room before
16·· · · ··A.· ·The left.                                                    16·· ·she goes back, correct?
17·· · · ··Q.· ·The left, okay.··And you didn't see or hear                  17·· · · ··A.· ·Correct.
18·· ·anything else about your wife until she came out                       18·· · · ··Q.· ·Let me see.··I'm going to share screen with you
19·· ·approximately 30 minutes later, correct?                               19·· ·here.··This is going to be Exhibit 2 -- we kind of started
20·· · · ··A.· ·Correct.                                                     20·· ·to go down this -- and this is the triage, meaning the --
21·· · · ··Q.· ·And that's when you left, correct?                           21·· ·the initial examination with a nurse just outside the
22·· · · ··A.· ·Yes.                                                         22·· ·waiting room.
23·· · · ··Q.· ·So -- so really the only -- the only                         23·· · · · · · ·And the -- the nurse -- this is -- and again,
24·· ·conversation that you heard between your wife and someone              24·· ·let me preface this.··This is a medical record which you
25·· ·from the hospital while you were in the waiting room, the              25·· ·did not author.··I will ask you questions if you remember


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·1·· ·any of, you know, your -- your wife or you heard anything.             ·1·· · · · · · ·And then on page 5, your -- your -- your wife
·2·· · · · · · ·But essentially here did your wife -- she                    ·2·· ·goes back -- you know, once she saw the person at the --
·3·· ·complained of headaches; is that right?                                ·3·· ·at the window, she sees the person around the corner for
·4·· · · ··A.· ·Yes.                                                         ·4·· ·15 minutes, and then goes back into the ER, there was
·5·· · · ··Q.· ·And you heard her tell that to the -- the nurse              ·5·· ·another nurse by the name of Nurse Go -- and I'm pointing
·6·· ·who -- the white lady who poked her head around the                    ·6·· ·to page 6 of 6 -- G-o.
·7·· ·corner, correct?                                                       ·7·· · · · · · ·You don't know or didn't hear anything that
·8·· · · ··A.· ·Yes.                                                         ·8·· ·happened back in the room once your wife was taken back
·9·· · · ··Q.· ·And then you see temp here.··It says 99.5.                   ·9·· ·after the third person said Nena Charley, correct?
10·· · · · · · ·You heard your wife say that she felt feverish               10·· · · ··A.· ·Correct.
11·· ·when she's talking with that nurse around the corner, the              11·· · · ··Q.· ·And then your wife then sees -- this is still
12·· ·white lady --                                                          12·· ·Exhibit 2, and I'm just showing the names on things.
13·· · · ··A.· ·Yes.                                                         13·· · · · · · ·Your wife ultimately then saw a doctor by the
14·· · · ··Q.· ·-- correct?                                                  14·· ·name of Dr. Leach.··As far as -- and he's a male -- as far
15·· · · ··A.· ·Correct.                                                     15·· ·as -- Robert Leach.
16·· · · ··Q.· ·And you didn't hear -- and -- and besides those              16·· · · · · · ·As far as what your wife said to Dr. Leach, you
17·· ·two things, you didn't hear anything else your wife talked             17·· ·couldn't hear what was going on with them in the ER during
18·· ·about with that nurse who poked her head out around the                18·· ·that first visit.
19·· ·corner and she was back with for 15 minutes.                           19·· · · · · · ·Am I correct?
20·· · · · · · ·Am I correct?                                                20·· · · ··A.· ·It's not the ER -- it's the walk-in clinic --
21·· · · · · · ·MS. BEN:··Objection; form.                                   21·· ·and no, I can't hear because it's --
22·· · · ··A.· ·Correct.                                                     22·· · · ··Q.· ·Okay.
23·· · · ··Q.· ·Then I'll show you -- this is still Exhibit 2 --             23·· · · ··A.· ·-- it's --
24·· ·a record from -- so this is the triage record that I'm                 24·· · · · · · ·MR. CHECKETT:··Then what I'm going to do is show
25·· ·showing you on pages 3 and 4.                                          25·· ·you Exhibit 3.

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·1·· · · · · · ·(Exhibit No. 3 marked.)                                      ·1·· ·there at 9:00?
·2·· ·BY MR. CHECKETT:                                                       ·2·· · · ··A.· ·It was ID scan.
·3·· · · ··Q.· ·And this is the Navajo Fire Department, and it's             ·3·· · · ··Q.· ·I see.··Got it.··Before you left for work on the
·4·· ·on page 3 of that exhibit, which is -- it's got a Bates                ·4·· ·morning -- you know, so you'd been to the ER earlier in
·5·· ·number 0005.                                                           ·5·· ·the morning on the 28th.
·6·· · · · · · ·And it's -- it's -- basically what happened was              ·6·· · · · · · ·Before you left for work later in the morning on
·7·· ·you and your wife leave the ER; after, you know, the 30                ·7·· ·the 28th to get to work at 9:00, do you recall any
·8·· ·minutes she comes out, and you guys drive home, correct?               ·8·· ·conversations with Nena how she was doing or was she
·9·· · · ··A.· ·Yes.                                                         ·9·· ·sleeping?
10·· · · ··Q.· ·And then sometime the next morning do you go to              10·· · · ··A.· ·She was --
11·· ·work?                                                                  11·· · · · · · ·COURT REPORTER:··I'm sorry?
12·· · · · · · ·You know, you leave for work before 9:00 to get              12·· · · · · · ·THE WITNESS:··She was up.
13·· ·to work on -- let me show you Exhibit 1 again.                         13·· · · · · · ·COURT REPORTER:··I couldn't hear you.··Could you
14·· · · · · · ·You go to work sometime around 9:00 a.m. on                  14·· ·start over, please?
15·· ·Tuesday, the 28th, correct?                                            15·· · · · · · ·THE WITNESS:··She was up.
16·· · · ··A.· ·Correct.                                                     16·· · · ··Q.· ·And how -- how was she feeling?
17·· · · ··Q.· ·All right.··And then going back to Exhibit 3,                17·· · · · · · ·MS. BEN:··Form.
18·· ·which is the -- the Navajo Fire Department -- well, let me             18·· · · ··A.· ·Oh, she was telling me that she -- oh, she -- I
19·· ·back up.                                                               19·· ·remember she was saying -- she was sitting on the edge of
20·· · · · · · ·Mr. Charley, do you know what time you got to                20·· ·the bed telling me she had a cough.
21·· ·work on Tuesday, May 28th, 2019?                                       21·· · · ··Q.· ·Was she able to -- you know, after getting back
22·· · · ··A.· ·9:00.                                                        22·· ·from the ER earlier in the morning, you know, around 1:00
23·· · · ··Q.· ·Okay.··And do you have any like punch cards that             23·· ·or 2:00 in the morning, was she able to sleep throughout
24·· ·you punch in with or are you just -- again, you just go                24·· ·the night or she was up and down throughout the night?
25·· ·and you've worked there for 25 years and you go and get                25·· · · ··A.· ·She could sleep.··She was smiling.··She was --


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·1·· ·on May 29th about the circumstances of your wife's                  ·1·· ·was not eating much before.
·2·· ·passing?                                                            ·2·· · · · · · ·Tuesday morning she sat on the side of the bed
·3·· · · ··A.· ·Yes, I did, but I don't remember her name.                ·3·· ·and started coughing and said her throat was itching.
·4·· · · ··Q.· ·Okay.                                                     ·4·· · · · · · ·My question to you is, on Tuesday morning, when
·5·· · · ··A.· ·I think --                                                ·5·· ·you went to work, that's when Nena was telling you that
·6·· · · ··Q.· ·Basically you gave her -- go ahead.                       ·6·· ·she had some coughing; is that right?
·7·· · · ··A.· ·Ms. Joe, I think, was her name.··That's the one           ·7·· · · ··A.· ·Yeah.··When we came back from the hospital that
·8·· ·I talked to.                                                        ·8·· ·morning she -- she had a cough.
·9·· · · ··Q.· ·And say that name again?                                  ·9·· · · ··Q.· ·All right.··And then it says you went to work --
10·· · · ··A.· ·Ms. Joe.                                                  10·· ·you know, this is Tuesday morning -- and got a call around
11·· · · ··Q.· ·Ms. Joe, okay.··Oh, yeah, you spoke with Ms. Joe          11·· ·10:00 a.m. from your son and told you that they are taking
12·· ·later, okay, and I'll pull that one up, you know, next.             12·· ·his mother -- your son -- you know, Nile's mom -- in the
13·· · · · · · ·Do you recall telling -- do you recall telling            13·· ·ambulance to the hospital.
14·· ·the history of what you were aware of to a nurse at GIMC            14·· · · · · · ·He left work and came right away to meet them by
15·· ·regarding your wife's condition and what you were aware             15·· ·the road.
16·· ·of?                                                                 16·· · · · · · ·Do you remember -- again, that's what you told
17·· · · · · · ·MS. BEN:··Form.                                           17·· ·us before, Nile had called you, and you went to meet the
18·· · · ··A.· ·I don't remember.                                         18·· ·ambulance, right?
19·· · · ··Q.· ·During this conversation, it says -- and this is          19·· · · ··A.· ·Yes.
20·· ·the nurse's note.··I'll just read it to you.                        20·· · · ··Q.· ·Okay.··In her note the nurse writes, she --
21·· · · · · · ·Monday she -- you were talking about Nena --              21·· ·patient -- was admitted to ER after being taken there by
22·· ·Monday she felt okay.··She got a headache and laid down.            22·· ·the ambulance, and he was listening to her telling them
23·· · · · · · ·Tuesday morning she was talking away.··She                23·· ·that she clean up the mouse dropping at work.
24·· ·stated she is feeling hungry, and she felt like finally             24·· · · · · · ·She kept telling them that she cannot breathe.
25·· ·going to the restroom, and he told her maybe because she            25·· ·They kept getting blood from her, x-ray back and forth,

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·1·· ·and she was still talking.                                          ·1·· · · · · · ·THE WITNESS:··Can I take a break?
·2·· · · · · · ·Do you remember telling a nurse at GIMC, you              ·2·· · · · · · ·MS. BEN:··Can we take a break, John?
·3·· ·know, on the day your wife passed that once she got -- the          ·3·· · · · · · ·MR. CHECKETT:··Just let me finish two more
·4·· ·ambulance took her to GIMC around 10:00, 10:30 on                   ·4·· ·questions, then I'll move off this exhibit.··Just two --
·5·· ·May 28th, that you heard your wife telling the providers            ·5·· ·two minutes?
·6·· ·about the mouse droppings?                                          ·6·· · · · · · ·MS. BEN:··Are you okay with that, Tim?
·7·· · · · · · ·MS. BEN:··Objection; form.                                ·7·· · · · · · ·THE WITNESS:··Yeah.
·8·· · · ··A.· ·I don't remember.                                         ·8·· · · · · · ·MS. BEN:··Okay.··Go ahead.
·9·· · · ··Q.· ·Okay.··This nurse goes through and kind of takes          ·9·· · · · · · ·THE WITNESS:··Yes.
10·· ·you through the history of events.                                  10·· ·BY MR. CHECKETT:
11·· · · · · · ·She does not write that you -- you heard your             11·· · · ··Q.· ·All right.··And then -- then basically what
12·· ·wife tell about the mouse droppings anytime before your             12·· ·happened is, after you -- after this nurse writes that you
13·· ·wife is admitted to the ER after being brought by the               13·· ·heard your wife telling the staff when she's admitted to
14·· ·ambulance.                                                          14·· ·the ER after being taken by the ambulance at about 10:00,
15·· · · · · · ·Do you agree with that?                                   15·· ·10:30 in the morning, that after you -- you know, they did
16·· · · · · · ·MS. BEN:··Form.                                           16·· ·the -- the blood test and she's talking about mouse
17·· · · ··A.· ·Can you repeat that question?                             17·· ·droppings, that's when they took her to the Albuquerque
18·· · · ··Q.· ·Okay.··You're -- this nurse writes that you               18·· ·hospital; is that right?
19·· ·heard -- the first time you heard your wife talk about              19·· · · · · · ·MS. BEN:··Form.
20·· ·mouse droppings was at the second ER visit.                         20·· · · ··A.· ·Yes.
21·· · · · · · ·Did you tell someone during the second -- did             21·· · · · · · ·MR. CHECKETT:··Why don't we go ahead and -- and
22·· ·you tell this nurse during the second ER visit, that's              22·· ·take our break.··It's 11:52 here in Arizona and 12:52 your
23·· ·when you heard your wife talking about mouse droppings?             23·· ·time, so we'll take a ten-minute break.
24·· · · · · · ·MS. BEN:··Form.                                           24·· · · · · · ·(Recess was held from 12:52 p.m. until
25·· · · ··A.· ·Yes.                                                      25·· ·1:13 p.m.)


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·1·· · · · · · ·MR. CHECKETT:··It is 12:13 -- 1:13 New Mexico              ·1·· · · ··Q.· ·And then are you aware that she did a report?
·2·· ·time.                                                                ·2·· · · ··A.· ·Yes.
·3·· ·BY MR. CHECKETT:                                                     ·3·· · · ··Q.· ·And you're aware that Elvina Clark-Joe is an
·4·· · · ··Q.· ·Mr. Charley, I just have a number of things I              ·4·· ·individual who investigated the circumstances of your
·5·· ·need to finish up with you here.                                     ·5·· ·wife's death from a sanitarian perspective, correct?
·6·· · · · · · ·Let me share screen here with you, and --                  ·6·· · · ··A.· ·Yes.
·7·· · · ··A.· ·Excuse me.                                                 ·7·· · · · · · ·MR. CHECKETT:··And then she also -- Exhibit
·8·· · · ··Q.· ·-- can you --                                              ·8·· ·Number 8 -- she also -- Elvina Clark-Joe, this is an
·9·· · · ··A.· ·Excuse me.··I would like to go back to that                ·9·· ·individual questionnaire that she filled out.
10·· ·first night.··I would like to add on some words.                     10·· · · · · · ·(Exhibit No. 8 marked.)
11·· · · ··Q.· ·And -- and again, let me -- and I know we're on            11·· ·BY MR. CHECKETT:
12·· ·the record and you're saying that -- let me go ahead -- I            12·· · · ··Q.· ·She interviewed you and filled in some stuff
13·· ·will ask my questions.··If your attorney needs to clarify,           13·· ·in -- in a questionnaire; is that correct?
14·· ·then she can.                                                        14·· · · ··A.· ·Yes.
15·· · · · · · ·MR. CHECKETT:··What I want to do is, at this               15·· · · ··Q.· ·Did you -- and the questionnaire is 14 pages.
16·· ·time, as far as Exhibit Number -- let's see.··It's --                16·· · · · · · ·Is this something that -- this is -- is this
17·· ·Exhibit Number 7 is Elvina Clark-Joe -- this is her                  17·· ·your handwriting on page 1?
18·· ·report.                                                              18·· · · ··A.· ·Yes.
19·· · · · · · ·(Exhibit No. 7 marked.)                                    19·· · · ··Q.· ·Again, I just want to make sure.
20·· ·BY MR. CHECKETT:                                                     20·· · · · · · ·Or is this Ms. Clark-Joe's handwriting as she's
21·· · · ··Q.· ·Did you -- did you speak with Elvina Clark-Joe             21·· ·taking down your answers?
22·· ·from the Department of Health and Human Services about               22·· · · ··A.· ·Oh, not -- not the questions, no, not that one.
23·· ·hantavirus and kind of -- well, do you remember speaking             23·· · · ··Q.· ·Okay.··So the checked boxes, that's not your
24·· ·with her?                                                            24·· ·writing on page 2?
25·· · · ··A.· ·Yes.                                                       25·· · · ··A.· ·No.··That's when she was asking me questions.

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·1·· · · ··Q.· ·Okay.··And then the name of person involved on             ·1·· · · · · · ·(Exhibit No. 10 marked.)
·2·· ·page 1, where it says Charley, first name Timothy, and the           ·2·· ·BY MR. CHECKETT:
·3·· ·address and everything, is this your writing in Section 2?           ·3·· · · ··Q.· ·Nyla Gonzalez -- Nyla is your sister-in-law,
·4·· · · ··A.· ·No.··My handwriting is different.                          ·4·· ·right?
·5·· · · ··Q.· ·All right.··So this questionnaire, based upon              ·5·· · · ··A.· ·Yes.
·6·· ·your perspective, most likely Ms. Joe was -- Ms. Clark-Joe           ·6·· · · ··Q.· ·And were you aware she gave a transcribed
·7·· ·was asking you questions and taking down -- writing things           ·7·· ·statement in this case?··Were you aware one way or the
·8·· ·down, correct?                                                       ·8·· ·other?
·9·· · · ··A.· ·Yes.                                                       ·9·· · · · · · ·And don't tell me anything you talked about with
10·· · · · · · ·MR. CHECKETT:··So then Exhibit Number 9 --                 10·· ·your attorney.
11·· ·again, I'm not going to -- at least at this point.                   11·· · · · · · ·MS. BEN:··Form.
12·· · · · · · ·(Exhibit No. 9 marked.)                                    12·· · · ··A.· ·I don't know.
13·· ·BY MR. CHECKETT:                                                     13·· · · ··Q.· ·And then were you aware -- and again, I don't
14·· · · ··Q.· ·Were you aware that Ms. Clark-Joe was deposed?             14·· ·want to know anything you talked about with your
15·· · · ··A.· ·Can you --                                                 15·· ·attorney -- that Neil -- Neil Pablo -- I believe your
16·· · · · · · ·MS. BEN:··Form.                                            16·· ·brother-in-law -- had given a transcribed statement in
17·· ·BY MR. CHECKETT:                                                     17·· ·this case?
18·· · · ··Q.· ·Okay.··Let me ask a better question.                       18·· · · · · · ·MS. BEN:··Form.
19·· · · · · · ·Do you know if Ms. Clark-Joe had taken down --             19·· · · ··A.· ·I don't know.
20·· ·had given testimony under oath like you're doing today?              20·· · · · · · ·MR. CHECKETT:··Exhibit 12.
21·· ·Did you know that one way or the other?                              21·· · · · · · ·(Exhibit No. 12 marked.)
22·· · · · · · ·But don't tell me if you've discussed it with              22·· ·BY MR. CHECKETT:
23·· ·your attorneys.                                                      23·· · · ··Q.· ·Were you aware -- Exhibit 12 is a statement by
24·· · · ··A.· ·I don't know.                                              24·· ·Ned Pablo.
25·· · · · · · ·MR. CHECKETT:··Okay.··Exhibit 10.                          25·· · · · · · ·Were you aware -- and don't tell me anything you


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·1·· · · · · · ·MR. CHECKETT:··Again, I don't have any further                ·1·· ·droppings that night.
·2·· ·questions.                                                              ·2·· · · · · · ·The -- the hospital wasn't busy.··It was
·3·· · · · · · ·I guess, Melanie, if you want to do a                         ·3·· ·quiet and just the two couples, and just the nurse and the
·4·· ·question-and-answer format, that's -- that's fine.                      ·4·· ·custodians were walking back and forth.
·5·· · · · · · · · · · · · · ··EXAMINATION                                    ·5·· · · · · · ·And that's what I remember that night.
·6·· ·BY MS. BEN:                                                             ·6·· · · · · · ·MS. BEN:··Okay.··Thank you, Mr. Charley.··I'll
·7·· · · ··Q.· ·Okay.··Mr. Charley, did you want to add anything              ·7·· ·probably have some questions later.
·8·· ·to your statement based on your visit to GIMC during that               ·8·· · · · · · ·John, do you mind stopping the share screen?
·9·· ·first visit?                                                            ·9·· · · · · · ·MR. CHECKETT:··Oh, sure.··Sorry about that.
10·· · · ··A.· ·Yes.                                                          10·· · · · · · ·MS. BEN:··I'll have more questions later.··If
11·· · · · · · ·MR. EATON:··Objection to form.                                11·· ·anyone wants to ask Mr. Charley some questions.
12·· · · · · · ·MR. CHECKETT:··And foundation.                                12·· · · · · · ·MR. CHECKETT:··You know what?··Let me -- let me
13·· · · · · · ·Go ahead.                                                     13·· ·follow up on that.
14·· ·BY MS. BEN:                                                             14·· · · · · · · · · · · ··FURTHER EXAMINATION
15·· · · ··Q.· ·Can you please tell me what that is?                          15·· ·BY MR. CHECKETT:
16·· · · ··A.· ·Yes.··I could hear the -- this faded                          16·· · · ··Q.· ·Mr. Charley, you know, we've been -- we are
17·· ·conversation between the nurse and my wife that night,                  17·· ·almost three and a half hours into this deposition, and
18·· ·because we were facing away from the room, back this way.               18·· ·your attorney just asked you for -- you to clarify
19·· ·She was behind me.                                                      19·· ·something that happened at the first ER visit just about
20·· · · · · · ·There was only two persons -- two -- a couple                 20·· ·one minute ago; is that correct?
21·· ·sitting in front of us, and I could kind of hear what                   21·· · · ··A.· ·Yes.
22·· ·they're saying.                                                         22·· · · ··Q.· ·Okay.··I'd asked -- going back to Exhibit
23·· · · · · · ·I remember her saying that -- she asked her what              23·· ·Number 6, now you're telling us -- after Ms. Ben's
24·· ·kind of job she was doing, and she told her that -- she                 24·· ·questions here -- that you heard something from your wife
25·· ·told her she cleaned dirty, dusty shelves and mouse                     25·· ·about her telling the nurse -- I assume it's the nurse --

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·1·· ·in the first ER visit -- the one who poked her head around              ·1·· ·I'll -- and I'll -- you'll probably get to understand a
·2·· ·the corner -- about mouse droppings.                                    ·2·· ·little bit better what I'm trying to ask, because maybe
·3·· · · · · · ·Is that right?··Is that what your testimony is                ·3·· ·I'm doing it unartfully.
·4·· ·now?                                                                    ·4·· · · · · · ·In Exhibit Number 6 there is a nurse by the name
·5·· · · ··A.· ·Yes.                                                          ·5·· ·of Corrina Smith who, on May 29th, 2019, had a
·6·· · · ··Q.· ·All right.··My question more directly to you is,              ·6·· ·conversation with you.
·7·· ·in your conversation on May 29th, 2019, with Nurse Smith,               ·7·· · · · · · ·Do you see that in Exhibit 6?
·8·· ·isn't it true that you never mentioned that you heard any               ·8·· · · ··A.· ·(No response.)
·9·· ·reference to mouse droppings by your wife during the first              ·9·· · · ··Q.· ·It says, contact with family member:··patient
10·· ·ER visit?··Am I correct?                                                10·· ·spouse/Tim Charley.
11·· · · · · · ·MS. BEN:··Objection; form.                                    11·· · · · · · ·Do you see what I'm referencing?
12·· · · ··A.· ·It was rodent droppings.                                      12·· · · · · · ·MS. BEN:··John, may -- if I could just throw out
13·· · · · · · ·COURT REPORTER:··It was what?··I'm sorry.··Could              13·· ·a suggestion.··If you just reference it to first visit
14·· ·you say that again?                                                     14·· ·versus second visit, that might help.
15·· · · · · · ·THE WITNESS:··Rodent droppings.··Mice droppings,              15·· · · · · · ·MR. CHECKETT:··First and second, okay.··Okay.
16·· ·yes.                                                                    16·· ·That's fine.
17·· ·BY MR. CHECKETT:                                                        17·· ·BY MR. CHECKETT:
18·· · · ··Q.· ·Wait.··So my question to you is, isn't it true                18·· · · ··Q.· ·So Mr. Charley, what we're going to do is
19·· ·that you did not tell Nurse Smith on May 29th, 2019, that               19·· ·reference the first ER visit as the one at, you know, 1:00
20·· ·you heard your wife talk about mouse droppings in the                   20·· ·in the morning at GIMC, and the second ER visit as the
21·· ·first ER visit?··Isn't that true?                                       21·· ·one, you know, where she's taken by ambulance at
22·· · · · · · ·MS. BEN:··Form.                                               22·· ·10:00 a.m. to GIMC.
23·· · · ··A.· ·Me talking to the nurse?                                      23·· · · · · · ·Do you -- do you understand that or are you
24·· · · ··Q.· ·Right.··You -- in Exhibit -- let me share the                 24·· ·following me there?
25·· ·screen with you -- let me share the screen with you, and                25·· · · · · · ·MS. BEN:··John, I'm trying -- I'm just trying to


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·1·· · · · · · · ··IN THE UNITED STATES DISTRICT COURT              ·1·· · · ··I FURTHER CERTIFY that examination of this transcript
  ···· · · · · · · ··FOR THE DISTRICT OF NEW MEXICO
                                                                    ·2·· ·and signature of the witness was requested by the witness
·2·· · · · · · · · · ·Case No. 1:22-CV-00033 JB/JFR
·3·· ·THE ESTATE OF NENA CHARLEY,                                   ·3·· ·and all parties present.··On May 8, 2023, a letter was
  ····By and Through Personal Representative,                       ·4·· ·mailed or delivered to Melanie Ben regarding obtaining
·4·· ·TIMOTHY CHARLEY, TIMOTHY                                      ·5·· ·signature of the witness, and corrections, if any, were
  ····CHARLEY, as Parent and Next Friend of
                                                                    ·6·· ·appended to the original and each copy of the Deposition.
·5·· ·NILE CHARLEY, and TIMOTHY CHARLEY, Individually,
·6·· · · · · · · · ··Plaintiffs,                                    ·7·· · · ··I FURTHER CERTIFY that the recoverable cost of the
·7·· · · · ·v.                                                      ·8·· ·original and one copy of the Deposition, including
·8·· ·THE UNITED STATES OF AMERICA,                                 ·9·· ·exhibits, to JOHN J. CHECKETT is $
  ····ROBIN RANELL SALES, R.N., JOELLE
                                                                    10·· · · ··I FURTHER CERTIFY that I did administer the oath to
·9·· ·CATHERIN CERO GO, R.N., AB
  ····STAFFING SOLUTIONS, LLC, a Foreign                            11·· ·the witness herein prior to the taking of this Deposition;
10·· ·Corporation, NEXT MEDICAL STAFFING,                           12·· ·that I did thereafter report in stenographic shorthand the
  ····a Foreign Corporation, and JOHN or JANE                       13·· ·questions and answers set forth herein, and the foregoing
11·· ·DOE Corporation,
                                                                    14·· ·is a true and correct transcript of the proceeding had
12·· · · · · · · · ··Defendants.
13·· · · · · · · · · · ··REPORTER'S CERTIFICATE                     15·· ·upon the taking of this Deposition to the best of my
14·· · · ··I, REBECCA FELLA, RPR, NM CCR 534, DO HEREBY CERTIFY     16·· ·ability.
15·· ·that on May 5, 2023, the Deposition of TIMOTHY BOYD           17·· · · ··I FURTHER CERTIFY that I am neither employed by nor
16·· ·CHARLEY was taken before me at the request of, and sealed
17·· ·original thereof retained by:                                 18·· ·related to nor contracted with (unless excepted by the
18·· · · · · · ·FOR DEFENDANTS ROBIN RANELL SALES, R.N. AND         19·· ·rules) any of the parties or attorneys in this case, and
  ···· · · · · ·NEXT MEDICAL STAFFING                               20·· ·that I have no interest whatsoever in the final
19·· · · · · · ·JOHN J. CHECKETT                                    21·· ·disposition of this case in any court.
  ···· · · · · ·The Checkett Law Firm, PLLC
20·· · · · · · ·6829 North 12th Street                              22·· ·
  ···· · · · · ·Phoenix, Arizona 85014                              23·· ·
21·· ·                                                                ··· · · · · · · · · · · · · · · · ··REBECCA FELLA, RPR
22·· · · ··I FURTHER CERTIFY that copies of this Certificate        24·· · · · · · · · · · · · · · · · ··New Mexico CCR 534
23·· ·have been mailed or delivered to all Counsel, and parties
24·· ·to the proceedings not represented by counsel, appearing        ··· · · · · · · · · · · · · · · · ··License expires 12/31/2023
25·· ·at the taking of the deposition.                              25·· ·




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